                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WISCONSIN

JESUS RANGEL,

                        Plaintiff,
       vs

                                                       Case No. 19-cv-0451
JESSICA S. LORUM,
NEIL THORESON, and
WILLIAM FRANCIS


                        Defendants.


                                 STIPULATION F'OR DISMISSAL



       IT IS HEREBY STIPULATED by and between plaintiff (proceeding pro se) and the

defendants, through their undersigned counsel, that this matter may be dismissed with prejudice

and without fees or costs to any party.

       Dated this \   5 day of Mar ch,2024.


                                                   J                  se plaintiff




       Dated this   \5 day of Mar ch,2024.
                                                   /s/ Terrv E. Johnson
                                                   Teny E. Johnson, WI SBN 1016704
                                                   Kevin M. Fetherston, WI SBN 1084716
                                                   von BRIESEN & ROPER, s.c.
                                                   411 E. Wisconsin Avenueo Suite 1000
                                                   Milwaukee,WI 53202
                                                   (414)276-1122 Phone
                                                   (414)276-6281 Fax
                                                   tj ohnson@vonbriesen. com
                                                   Attorneys for Defendant, Jessica S. Lorum




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      Dated this 20th day of March, 2024.

                                            Respectfully submitted,

                                            JOSHUA L. KAUL
                                            Attorney General of Wisconsin

                                            s/Bradley P. Soldon
                                            BRADLEY P. SOLDON
                                            Assistant Attorney General
                                            State Bar #1115763

                                            BRANDON T. FLUGAUR
                                            Assistant Attorney General
                                            State Bar #1074305

                                            Attorneys for Defendants
                                            Niel Thoreson and William Francis

Wisconsin Department of Justice
Post Office Box 7857
Madison, Wisconsin 53707-7857
(608) 266-6823 (Soldon)
(608) 266-1780 (Flugaur)
(608) 294-2907 (Fax)
soldonbp@doj.state.wi.us
flugaurbt@doj.state.wi.us




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